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                               UNITED STA TES DISTRICT CO URT
                               SO UTH ERN DISTRICT OF FLO RIDA

                                 CaseNo.18-CR-20345-W lLLlAM S(s)
    IJNITED jTATES oF AM ERICA
    VS.

    K EN NETH STABLER ,
         a/k/a iiR ichard W hite,''

                   D efendant.


                                       FA CTUAL PRO FFER

           TheUnitedStatesofAmericaandKenneth Stabler(theiçDefendanf')agreethathadthis
    case gone to trial,the governm entw ould have proven the follow ing facts beyond a reasonable

    doubt:

           O n April l2,20l8,at approxim ately 2:02 p.m .,the D efendantentered Bank ofAm erica

    located at 13l3 Northwest36th Street,M iam i,Florida. Bank ofA m erica's deposits are insured

    by theFederalDepositInsuranceCom oration :'FDIC.''The Defendantapproached the victim bank

    tellerand handed her a note thatsaid dirobbery.'' The Defendantalso told the tellerthatitw as a

    robbery and gestured towardshisw aistband indicating thathe wasarm ed. Fearing forherlife,the

    tellerhandedtheDefendant$7,630 inU.S.Currency.TheDefendantstuffedthem oney downhis
    shirt,took thedem and note,and tled thebank.The Bank ofA m erica surveillance system captured

    the robbery. Stillsfrom the surveillancevideo were obtained and released to Iocalnews outlets.

             Atthetim eofthe robbery,the Defendantw asserving an l8-m onth im prisonm entsentence
    thatw asim posed on M ay l9,2017,forasupervised release violation arising outofCrim inalCase

    N um ber91-CR-00864-Bloom . Theunderlying conviction wasbank robbery. The Defendantw as

    expected to be released from hissentence on June 29,2018. On February 22, 20l8,the Defendant
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    w as transferred from a FederalCorrectionalInstitution in Talladega, Alabam a,to a Residential

    Reentry Centerin M iam i,Florida,afacility atwhich the Defendantrem ained in thecustody ofthe

    AttorneyGeneral,FederalBureauofPrisons(:$BOP'').Uponarrivingatthefacility,theDefendant
    signed a form acknow ledging that, while atthe ResidentialReentry Center, he rem ains in the

    custodyoftheAttorneyGeneral,BOPandisstillsubjecttoal1BOPprohibitedacts.
           O n A prill2,2018,the Defendantleftthe ResidentialReentry Centerafterthe 1l:45 a.m .

    inm ate countand neverreturned. As a result, the Defendantw asplaced on ttescape status.''

           On M ay 18,2018,at approxim ately 9:27 a.m .,the Defendantentered Bank ofA m erica

    located at9101 South D ixieH ighw ay, Pinecrest,Florida. Bank ofA m erica'sdepositsare insured

    by the tCFD IC.'' Upon entering the bank, the Defendantapproached a bank tellerand handed her

    adem and notethatstated,tEROBBERY .20s, 50s,100s.Don'ttry Tracers.''The bank tellerhanded

    the Defendantapproxim ately $2,365 in U.S.currency and the Defendanttled the bank on foot.
    Therobbery wascapturedon surveillancevideo.
           The bank security guard took a photograph ofthe D efendant tleeing the bank and called

    Iaw enforcement.Thesecurity guard showed thephotograph oftheDefendanttotheresponding

    ofticers and the Defendantw as located and detained shortly thereafter. During a search ofthe

    Defendantincidentto arrest,law enforcementfound approximately $2,367.96 in U .S.currency
    and a dem and note thatsaid tVRO BBERY .20's, 50's,100.N o Tracers''in the Defendant's pants

    pocket. During a posL-M iranda interview , the Defendantadm itted to com m itting the fourbank

    robberies in M iam iand one bank robbery in Dallasw hile on escapee status. The Defendantwas

    shown surveillancestillphotographsfrom thebank robberiesand the Defendantsigned each photo




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    identifying him self as the person who robbed the banks and as the person who appears in the

    surveillance stills.




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                                               ATTORN EY FOR THE DEFEN D AN T

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                                                              c.'
                                               KEN NETH STA BLER
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                                               DEFEN DAN T




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